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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------x
 In re                                                   :
                                                         :     Chapter 11
 WESTINGHOUSE ELECTRIC                                   :
 COMPANY LLC, et al.,                                    :     Case No. 17-10751 (MEW)
                                                         :
                              1
                   Debtors.                              :     (Jointly Administered)
 --------------------------------------------------------x

                                         AFFIDAVIT OF SERVICE

       I, Andrew Henchen, depose and say that I am employed by Kurtzman Carson Consultants
 LLC (KCC), the claims and noticing agent for the Debtors in the above-captioned case.

         On August 11, 2017, at my direction and under my supervision, employees of KCC
 caused to be served the following documents via Electronic Mail upon the service list attached
 hereto as Exhibit A; via Overnight Mail upon the service list attached hereto as Exhibit B; and
 via First Class Mail upon the service list attached hereto as Exhibit C:

        Notice of Presentment of Application of Debtors Pursuant to 11 U.S.C. §§ 327(a)
         and 328, Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules 2014-1 and 2016-1 for
         Authority to Employ and Retain Deloitte Transactions and Business Analytics LLP
         as Valuation and Discovery Services Provider Nunc Pro Tunc to the Petition Date
         [Docket No. 1128]

        Notice of Presentment of Application of Debtors Pursuant to 11 U.S.C. §§ 327(a)
         and 328, Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules 2014-1 and 2016-1 for
         Authority to Employ and Retain Deloitte Financial Advisory Services LLP as
         Financial Advisory Services Provider Nunc Pro Tunc to the Petition Date [Docket
         No. 1129]



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
 Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global
 Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster
 Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448),
 Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina
 Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc.
 (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and
 Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572),
 WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328),
 Westinghouse Industry Products International Company LLC (3909), Westinghouse International Technology LLC
 (N/A), and Westinghouse Technology Licensing Company LLC (5961). The Debtors’ principal offices are located
 at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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                                                                        Core/2002 Service List
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                                                                                                     Core/2002 Service List


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  (Regional)                                  Environmental Protection Agency                                                 290 Broadway                                             New York       NY      10007-1866
  Federal Communications Commission           Federal Communications Commission                                               445 12th Street SW                                       Washington     DC      20554
                                                                                     James M. Lucas, Senior Vice
  Official Committee of Unsecured Creditors   Fluor Enterprises Inc.                 President                                6700 Las Colinas Boulevard                               Irving         TX      75039
                                                                                     Meredith M. Lakey, SVP, General
  Official Committee of Unsecured Creditors   Georgia Power Company                  Counsel and Corporate Secretary          241 Ralph McGill Boulevard                               Atlanta        GA      30308
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  New York Attorney General                   Office of the NY Attorney General      Attorney General                         The Capitol                                              Albany         NY      12224-0341
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  Official Committee of Unsecured Creditors   SSM Industries Inc.                    Peter Gorman, General Counsel            3401 Grand Ave                                           Pittsburgh     PA      15225
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